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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:                                      :     CHAPTER 13
 WANDA YVETTE KNIGHT                         :     CASE NUMBER A18-62259-WLH
       DEBTOR                                :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

        Nancy J. Whaley, Standing Chapter 13 Trustee to report back by the end of
        May 2019 following the Confirmation Hearing held on May 8, 2019:

        As to whether Debtor’s plan payments are current

        The Attorney for the Trustee has reviewed the case as instructed and:

        Recommends dismissal because:

        Debtor’s plan payments remain delinquent

        Please enter an Order of Dismissal

        This the 3rd day of June, 2019.

                              ___/s/_________________________
                              Ryan J. Williams,
                              Attorney for Chapter 13 Trustee
                              GA Bar Number 940874
                              303 Peachtree Center Ave., NE
                              Suite 120
                              Atlanta, GA 30303
 /jlr                         (678) 992-1201
  Case 18-62259-wlh        Doc 34    Filed 06/03/19 Entered 06/03/19 09:05:51             Desc
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                                  CERTIFICATE OF SERVICE
Case No: A18-62259-WLH

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
WANDA YVETTE KNIGHT
160 COUNTRY PLACE DRIVE
STOCKBRIDGE, GA 30281




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 3rd day of June, 2019.


/s/____________________________________
  Ryan J. Williams
  Attorney for the Chapter 13 Trustee
  State Bar No. 940874
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
